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2
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5
                                  UNITED STATES DISTRICT COURT
6
                                   MIDDLE DISTRICT OF FLORIDA
7                                          TAMPA DIVISION
8                                                    §
       FINNAVATIONS LLC,                             §
9                                                    §
                     Plaintiff,                      §   Case No.: 8:17-cv-02790-EAK-MAP
10                                                   §
             vs.                                     §
11
                                                     §   UNOPPOSED MOTION TO STAY
       FIRST FINANCIAL MERCHANT                      §   CASE MANAGEMENT DEADLINES
12
       SERVICES, LLC,                                §   AND NOTICE OF SETTLEMENT
13                                                   §
                     Defendant.                      §
14                                                   §
                                                     §
15                                                   §
                                                     §
16
                 Plaintiff, Finnavations LLC, and Defendant, First Financial Merchant Services
17
       LLC, hereby notifies the court that the parties have reached a fully executed agreement
18

19     that will resolve all pending claims between them. Accordingly, Finnavations files this

20     unopposed motion for a stay of all pending deadlines, up to and including June 1, 2018,

21     so that the parties may comply with certain agreement terms and submit dismissal papers

22     of this action. This stay is not sought for the purpose of delay but so that justice may be
23     served.
24
                 WHEREFORE, Plaintiff, Finnavations LLC, respectfully requests the entry of an
25




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       order (i) granting a stay of case management deadlines in this action, including the

3      necessity of filing a motion for final default judgment, pursuant to M.D. Fla. R. 1.07, or

4      (ii) alternatively, entering an order stating that within sixty (60) days of the date of such

5      order, the parties will submit a stipulated form of voluntary dismissal or judgment, or to

6      reopen this action, upon good cause shown.
7

8
       DATED on April 6, 2018

9
                                                     Respectfully submitted,
10

11
                                                     /s/ Coleman Watson
12
                                                     Coleman W. Watson, Esq.
13                                                   Florida Bar. No. 0087288
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24                                                   Attorneys for Plaintiff,
                                                     FINNIVATIONS, LLC
25




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2
                               CERTIFICATE OF COMPLIANCE
3               I HEREBY CERTIFY that, pursuant to M.D. Fla. R. 3.01(g), I conferred in good
       faith with Defendant, First Financial Merchant Services LLC d/b/a Payscape, prior to
4      filing this motion, and Defendant does not oppose the relief requested herein.
5                                                 /s/ Coleman Watson
                                                  Coleman W. Watson, Esq.
6

7

8
                                  CERTIFICATE OF SERVICE
9
               I HEREBY CERTIFY that on April 6, 2018, pursuant to Fed. R. Civ. P. 5(d)(3), I
10
       filed the foregoing document electronically with this court’s CM/ECF system, which will
       serve an electronic copy of the foregoing document to the counsel of record in this
       proceeding.
11
                                                  /s/ Coleman Watson
12                                                Coleman W. Watson, Esq.
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